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                                          March 22, 2021

 By ECF
 Honorable Paul A. Engelmayer
 United States District Judge
 Eastern District of New York 1
 40 Foley Square
 New York, NY 10007


       Re: United States v. Lucio Celli, 19 Cr. 127 (PAE)

 Your Honor:

        I write to provide the attached submission from Lucio Celli. He respectfully
 requests that it be considered together with the other pending motions. Thank you for
 your consideration.

                                          Respectfully submitted,

                                          /s/ Benjamin Silverman
                                          Benjamin Silverman
                                          Attorney for Lucio Celli

 cc: Counsel of Record (by ECF)




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           Sitting by designation.
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                                   USA
                                  v.
                              Lucio Celli

                      Case No.: 19-cr-00127
 Dear Judge Engelmayer:


 Re: Elizbeth “Betsy” Combier harassment, criminal conduct
 towards me and it is the SAME criminal conduct that the AUSA
 wants to leave out.

      I, Lucio Celli, received two blog post entries from Ms.
 Combier: one entry was from “nycrubberroomreporter.blogstop.com”
 and the other entry was from “parentadvocates.org” without a
 letter to company the entries sent, but the return address was
 from where Ms. Comiber lives in Manhattan.

 Please know that:
   • Points 1 and 2 deal with solely on the issue of Betsy
      Combier placing my health status on her blog and they start
      on pages 1 and 2
   • Point 3 deals with the blogs’ tax-exempt status on page 4
   • Point 4 deals with me telling Kadijah Young about Betsy and
      her blogs’ tax-exempt status with the fact that both AUSA
      previously worked with Ms. Young at the 2d. Cir. have not
      turnover the audio-recording between she and I on page 11.
   • Point 5 deals with me telling the US Marshalls about Betsy
      and her blogs’ tax-exempt status on page 12.
   • Point 6 deals with the April 16, 2021 conference and the
      Cronic issues that I am having with my lawyers on page 13
   • Point 7 deals with, in part, with Judge Cogan’s association
      with UFT for 20 years and the AUSAs wants to cover up,
      which is a crime under 18 USC §371 on page 14

            Point 1: Court has helped/ignored Betsy
                         harass me
 This is not the first time that I have asked a judge to deal
 with Ms. Combier conduct of posting my HIV status on her blogs
 on the behave of Randi Weingarten, first and now with the
 approval of both Randi Weingarten and Judge Cogan. Examples:

   1. Magistrate Bloom said, “It’s your problem.”
   2. Judge Brodie said, “You have harassed Ms. Combier.”


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   3. The panel of judges ignored the issue altogether and TWO of
      the judges were recommended by Senator Schumer

 I cannot tell you the dates because I do not have access to the
 internet

    Point 2: Betsy’s crimes against me is part of
                      this case
      Betsy Combier’s current is part and parcel to the current
 proceeding because Betsy met with Judge Cogan, Peter Zucker, and
 Randi Weingarten with an unknown name to plan to harass me in
 and out of court.


 Please Take Notice, I informed the US Marshalls and all the
 readers of emails what group was doing to me.

 Please Take Further Notice, AUSA Bensing said that “everything
 was normal,” which is binding because she informed the court
 that Judge Cogan with others could have Betsy Combier harass me—
 on February 5, 2019 and in front of Judge Levy, which I informed
 him that AUSA Bensing was lying to him

      The emails are the result of what the court allowed and
 planned with Betsy do to me and AUSA Bensing said that she would
 support Betsy’s and her conspirators because Robin Gold, esq, of
 the DOJ, said what Judge Cogan and Randi Weingarten did to me is
 a crime—with others from the DOJ!!




      First, All statements made by the US Marshalls, the AUSA,
 the DOJ, and the judges are all admissible because they are “the
 opposing party” in this case. Any admission by the prosecution
 and their team is binding in this case because the United States
 Department of Justice “is a party opponent of the defendant in
 criminal cases.” United States v. Kattar, 840 F.2d 118, 130 (1st
 Cir. 1988) (quotation omitted). See also Giglio v. United
 States, 405 U.S. 150, 154 (1972) (“The prosecutor’s office is an
 entity and as such it is a spokesman for the Government”). A
 party’s own out-of-court statements are not hearsay when they
 are offered against that party. See Fed. R. Evid. 801(d)(2)(A)-
 (D) Nemours & Co., 951 F.2d 613, 619 (4th Cir. 1991).



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      Second, my conduct is a direct response to Betsy colluding
 with Judge Cogan and Randi Weingarten and 2 others. “Evidence of
 the defendants’ conduct may be admitted as direct evidence if it
 arose out of the same transaction or series of transactions as
 the charged offense, if it is inextricably linked with the
 charged conduct, or if it is necessary to complete the story of
 the crimes on trial. See US v Robinson, 702 F.3d 22, 37 (2d Cir.
 2012). Evidence will show that Betsy and Peter Zucker harassed
 me, with the present documents continue the harassment on the
 behalf of Randi and Cogan and will continue once I am allowed.

      The AUSAs are allowed to not to prosecute someone because
 of discretion, but the AUSAs, as Bensing did on Feb. 5, 2019,
 are not allowed to cover up or sanction crimes because they are
 charged for this conduct under 18 USC § 371, which was told me
 to by many DOJ employees, like Robin Gold.



      Third, Federal Rules of Evidence 801(d)(2)(E) was made by
 part’s coconspirator during and in the furtherance of the
 conspiracy

      Betsy Combier’s written blogs, just one way she harassed
 me, is part and parcel of the plan that she forged with Judge
 Cogan, Randi Weingarten, and Peter Zucker with an unknown. The
 Supreme Court has held that “A statement is made during the
 course of a conspiracy when it is made after the conspiracy's
 formation and before the conspiracy's termination. A conspiracy
 is terminated when its "central criminal purposes" have been
 accomplished. Grunewald v. United States, 353 U.S. 391, 401-02
 (1957)”



 Please Take Notice, Betsy and her conspirators will not stop
 until court takes action



   Fourth, the failure to address the issues contained in this
 document constitutes a Cronic issue because my lawyers did not
 develop a defense or alert the court about the conspiracy. The
 original letter, about Betsy Combier, was written nearly two
 months ago. Betsy Combier will not stop and circuit with the
 district court has sanctioned Betsy’s collusion with Judge Cogan
 and Randi Weingarten with others—with the AUSA Bensing
 normalizing the behavior, but NO ONE ELSE from the DOJ.


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   Moreover, it is true that my lawyers did submit a letter on by
 behalf but discourage me from submitting it. This is a blessing
 and teeters on obstruction. It is a blessing because the letter
 has become more structed and I was able to hone the issues with
 the cases my lawyers do not want to present. It teeters on
 obstruction when my lawyers tell me that keep on stating about
 Betsy will harm, which is the SAME advice that Ms. Olivera gave
 me when she withheld evidence that Judge Hurly said would had
 freed me. Even my current lawyers will not answer why they will
 not present the evidence, as it is a crime, but they will not
 explain to me.

   In Cronic, the Court cited: United States v. Ash, 413 US 300,
 309 (1973). If no actual "Assistance" "for" the accused's
 "defense" is provided, then the constitutional guarantee has
 been violated. No defense was provided in any briefs, which I couched
 as “issues” at the December 15, 2020 conference with Your Honor. I
 addressed the issues and Mr. Silverman and Ms. Silverman; they agreed
 to fix all issues because it was in January that I planned on getting
 rid of them, if they did not agree, which I can provide the audio-
 recordings.

    There is no defense provided




    Point 3: Betsy’s Blogs have Tax Exempt Status
      Both “nycrubberroomreporter.blogstop.com” and
 “parentadvocates.org” are both funded by Ms. Combier’s “The E-
 Accountability foundation,” which has IRC 501(c) status (tax
 exempt statuts). In addition, David Kapel (Ms. Combier’s
 husband) is the “Chief Financial officer” of said foundation,
 who is Ms. Combier’s husband. As I attempted to tell Judge
 Brodie, Ms. Combier uses Mr. Kapel’s passwords to access
 pacer.gov via his Hunter College account, which is a violation
 CUNY’s term of services and CUNY proves a notice to its
 employees that it is a crime under CFAA.


  The current posts and prior posts of my HIV status violates my
 right to a fair trial and privacy because she has colluded with
 Randi Weingarten and Judge Cogan, as Ms. Combier presents, in
 her blogs, a narrative that covers up a crime under 18 USC § 242
 and 18 USC 241 with another one under the Hobbs Act (of pushing
 me out of my job): Violation of constitutionally valid laws is
 inconsistent with exemption under IRC 501(c)(3). As a matter of


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 trust law, one of the main sources of the general law of
 charity, planned activities that violate laws are not in
 furtherance of a charitable purpose. "A trust cannot be created
 for a purpose which is illegal. The purpose is illegal ... if
 the trust tends to induce the commission of crime or if the
 accomplishment of the purpose is otherwise against public
 policy.... Where a policy is articulated in a statute making
 certain conduct a criminal offense, then ..., a trust is illegal
 if its performance involves such criminal conduct, or if it
 tends to encourage such conduct." IV Scott on Trusts Section 377
 (3d ed. 1967). Thus, all charitable trusts (and by implication
 all charitable organizations, regardless of their form) are
 subject to the requirement that their purpose may not be illegal
 or contrary to public policy. Rev. Rul. 71-447, 1971-2 C.B. 230;
 Restatement (Second) of Trusts, Section 377, Comment c (1959).
 Moreover, by conducting criminal activities, an organization
 increases the burden of government and thus thwarts a well-
 recognized charitable goal, i.e., relief of the burdens of
 government. PLEASE TAKE NOTICE, Ms. Combier, without a doubt,
 violates my right to privacy and my right to a right trial
 because she claims her blogs entitles her to be part of the
 press.



          I.   The Problem of Ms. Combier 501(c) organization

 1. Reg. 1.501(c)(3)-1(c)(1) states that an organization will not
    be regarded as operated "exclusively" for IRC 501(c)(3)
    purposes if more than an insubstantial part of its activities
    is not in furtherance of an exempt purpose. The presence of a
    single non-charitable purpose, if substantial in nature, will
    destroy the exemption regardless of the number or importance
    of truly charitable purposes. Better Business Bureau v. United
    States, 326 U.S. 279 (1945). Therefore, if an organization
    engages in illegal acts that are a substantial part of its
    activities, it does not qualify for exemption under IRC
    501(c)(3). Below I will show the Court how AUSA Bensing lied
    to the Court on Feburary 5, 2019 and helped Ms. Combier, Judge
    Brodie and their gang get away with a crime. PLEASE TAKE
    NOTICE, the purpose filed with the IRS by Ms. Combier is not
    the same purpose filed in district court and the 2d Cir.



    The difference between the purpose Ms. Combier claimed with
    the IRS, and the purpose she claimed in district court and the
    2d Cir. chart:


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  The purpose of Ms. Combier’s             The purpose of Ms. Combier’s
  501(c) written to the IRS                501(c) to Judge Brodie and
  (Please See Exhibit A)                   panel of judges (Brodie and 2
                                           out 3 panels judges were
                                           recommended by Senator
                                           Schumer. (Please See the
                                           various entries on the docket
                                           before the judges or merely
                                           the complain)

  The E-Accountability Foundation          According to documents
  Inc                                      submitted by Ms. Combier in
                                           court, the blogs are to
  The goal of the Organization is          support her paralegal
  to enhance and provide a system          business.
  of accountability in the
  nation's children education.
  Through the organization
  activities and its website, the
  nation's parents can learn and
  take an active role in the
  nation's children's education.

  The organization believes that
  parents and taxpayers should
  have an active voice and force
  as to which programs their
  children participate in, where
  monies are allocated to and what
  children should be entitled to
  as to the quality of their
  educational opportunities. -

  The organization's online
  magazine is also a tool which
  seeks to inform and empower
  parents or guardians of
  children. The organization
  believes that we, as a group,

  must hold our educational
  leaders and elected officials
  accountable for the actions they
  take vis-à-vis our nation's


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  children. The organization
  strives to tell and inform
  parents what those actions are,
  as well as what can be done to
  protect and nurture your child
  while in the system. When our
  nation's children do not receive
  a free and adequate education
  and may be ignored by the
  elected

  officials and the educational
  system, action needs to be taken
  immediately and not depend on
  the system to solve the issues
  at hand.

  Through today's new technology,
  computers and the internet, we
  can use those tools to bring
  about systematic change and make
  sure that our elected officials
  and educators are as passionate
  as parents, taxpayers, and the
  organization is about putting
  children first.


  From the paperwork filed by Ms.          From papers filed as
  Combier with the IRS:                    complaints, motions, and
  “Compensation is and will not be         briefs: the blogs are a
  paid.”                                   source of “personal income”

  Facts:
    1. Ms. Combier copied and pasted her blog onto a word
       document to cover up the true purpose of blog to Judge
       Brodie and the panel of judges because the blog has the
       purpose that is written to the IRS and this is on the left
       side from above (Please See Exhibit A)
    2. Ms. Combier CAN change the fact that people will be
       compensated and paid, which one of returns has Ms. Combier
       being paid $10 dollars
    3. If the court goes by what amount she claimed that Mr.
       Portelos and I took, because of defamation, then the
       amount is 66,000 dollars.
    4. Nowhere on any tax returns does Ms. Combier claim 66,000
    5. Cash money, which she told me that she referred—on June
       24, 2015, must be reported to the IRS, especially when the


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        fact that Ms. Comber allows her clients, who she
        paralegals for, to deposit money in her The E-
        Accountability Foundation Inc account.
     6. Any money earned for her paralegal work IS NOT part of the
        purpose for “The E-Accountability Foundation, Inc because
        the paralegal work DOES NOT further any aspect of the
        foundation’s purpose filed with the IRS.

     7. All monies that ARE NOT related to the purpose of the
        501(c) filed with the IRS, those monies MUST be declared
        and filed under Form 990-T
     8. There are receipts on the docket that reflects Ms.
        Combier’s paralegal business, which was paid to the 501(c)
        and the bases of her lawsuit
     9. Ms. Combier even told me that she prefers cash, which is
        the reason I requested sign-in sheets from the 3020-a
        hearings.
     10.     I even requested that Ms. Combier put her paid
        receipts for pacer.gov, but Judge Brodie ignored the
        request

     11.    According to documents filed by Ms. Combier in court,
       she charges between $1,500 and $3,000 a case and this is
       for her paralegal work
     12.    According to documents filed by Ms. Combier in court,
       she had between 20 to 22 clients and prior to the suit.
     13.    Prior to the lawsuit, Ms. Comiber NEVER filed a Form
       990-T with the IRS.
     14.    On Ms. Combier’s website (which has 501(c) status),
       she declared the check given to her by me as a gift.
     15.    THE PUBLIC has the right to request the all documents
       from any organization that has to do with 501(c) status,
       but Judge Brodie ignored my request
     16.    The documents are not in discovery, which they should
       have been because AUSA Bensing made statements of facts
       that ARE NOT supported by the evidence—on February 5,
       2019.
     17.    The effect of AUSA Bensing’s statements on February
       5, 2019 was to preclude prosecution of tax invasion
       because ANY transaction that does not support and help
       purpose of the foundation, which was submitted to the IRS,
       is not taxable income by Ms. Combier
     18.    According to Ms. Combier’s various court filings, the
       income generated by blogs are her personal income.

     Please Take Notice: Prosecutors and judges were also
     indicted for helping people get away with tax evasion. See
     Grunwald v. US, 353 US 391 (1957), just one case among many.


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     Please Take Notice: The collection of taxes by judges and
     prosecutors is a ministerial act.

     Question: What constitutes an administrative act and
     executive act for judges?

     As a supervisor of people in their cambers, then the judge
     could be acting in his/her ministerial capacity; but the
     supervision cannot have anything to do with any case before
     the judge (this means hiring, firing, promotion of
     personnel), so this is where my question comes from. I
     cannot any definition for administrative act and executive
     act for judges, but the Supreme Court has mentioned these as
     acts along with include judicial and ministerial act.




 2. The DOJ has taken steps in court to take away 501(c)status
    from an organization or prosecuted the members for misusing
    the organization for harassment or other crimes.

      Ms. Combier, who has a half of an arm with two fingers; she
    camouflages her deformity by wearing long sleeves, even in the
    summer, and the camouflages comes from a place of vanity and
    the knowledge that people will look with the possibility that
    someone would ask. Most people who deal with Ms. Combier, they
    do not realize does not have two normal arms with five fingers
    on each hand. Therefore, Ms. Combier is aware that there is a
    still a stigma and fear around HIV and attempts to incites
    fear in the parents that I teach, which is the reason she has
    posted my with my HIV on a few occasions: The conduct of
    illegal activities to a substantial degree is also a bar to
    exemption under IRC 501(c)(4). Reg. 1.501(c)(4)-1(a)(2)(i)
    provides that an organization is operated exclusively for the
    promotion of social welfare if it is primarily engaged in
    promoting in some way the common good and general welfare of
    the people of the community. It is an organization that is
    operated primarily for the purpose of bringing about the civic
    betterments and social improvements. Illegal activities, which
    violate the minimum standards of acceptable conduct necessary
    to the preservation of an orderly society, are contrary to the
    common good and the general welfare of the people of the
    community and thus are not permissible means of promoting
    social welfare for purposes of IRC 501(c)(4). Rev. Rul. 75-
    384, 1975-2 C.B. 204.



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                    II.   New York State Conflict of Interest

       I am also submitting this information to NYS’ conflict of
     interest board because David Kappel allowed his (Ms. Combier)
     wife to use state recourses, like the paid services of pacer.gov
     and used them for 501(c).

       Please Take Notice, Public Officer Law §74 and Public Officer
     Law § 30 governs ethics for New York State employees, like 18
     USC §§201 through 208 governs federal employee and, to a degree,
     28 USC § 455 of the recusal statute incorporated judicial ethics
     in the 1974 revision (whatever is found in 455(b)).

       Below are the standards and I believe with the evidence
     presented to Your Honor; Your Honor will understand how David
     Kappel helped his wife, Ms Combier because Mr. Kappel is the
     chief financial officer for his wife’s 501(c).


     Standards of Conduct (See Exhibit C)
     The Code of Ethics contains nine standards of conduct. Each
     standard examines the types of conflicts that State officers and
     employees are prohibited from engaging in while in State
     service.
•    Impartiality: maintaining independent judgment with respect to
     your State job. (Standard A)
•    Confidentiality: understanding the types of information that may
     be shared with colleagues and members of the public, not sharing
     confidential information acquired in the course of performing
     official duties, and not using confidential information to
     benefit yourself or someone else. (Standards B and C)
•    Stewardship of State resources: preventing you from using your
     official position to secure unwarranted benefits or favors for
     yourself or others, and not utilizing the resources of the State
     for your own personal use. (Standard D)
•    Financial conflicts: abstaining from personal investments that
     conflict with your official duties, and avoiding transactions
     with any entity in which you may have a direct or indirect
     financial interest. (Standards E and G)




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•    Integrity standards: avoiding situations in which it may appear
     you could be influenced or would attempt to influence someone
     else and conducting yourself in a manner that does not raise
     suspicion among the public that you’re personally benefitting
     from your official position. (Standards F and H)
•    Business with the State: as a State officer or employee, you are
     restricted from contracting for work and/or providing goods and
     services to entities that are licensed or regulated by your
     agency. Circumstances do exist that may allow you to
     concurrently work for both. (Standard I)



         Point 4, Kadijah Young, Clerk of the 2d Cir.
     1. Ms. Bensing has the audio-recording between Ms. Young and I
     2. Ms. Young lied/withheld, from the US Marshalls, the fact that
        she committed the crime of impeding my right to petition the
        government (under 18 USC §241) in court, then it is a crime
        under obstruction of justice, and then it is a crime about court
        dockets—I do not remember the statute numbers, but I have court
        cases where clerks were charged under any one of them
     3. In the audio-recording withheld, Your Honor will hear me state,
        “are you telling me that the Court told you to commit a crime?”
     4. Most importantly, Your Honor will hear me tell Ms. Young about
        the tax evasion known to the judges and the perjury.
     5. According to my former lawyers—all audio-recorded, Ms. Bensing
        can either lie for Ms. Combier and the judges about their crime
        or she can ignore the facts.
     6. I have told each of my lawyers that Ms. Bensing DOES NOT have
        the discretion to hide facts or agree not to prosecute a crime,
        which is happening in this case.
     7. If Ms. Bensing did not lie to cover up everyone’s, then it would
        not be colorable that Ms. Bensing agreed not to prosecute crimes
        against the judges, Randi Weingarten, and Ms. Combier, as I have
        Ms. Gold, of the DOJ, who said that what Randi/UFT and Judge
        Cogan did is, IN FACT, a crime—if those are the facts, but I do
        know the facts.
     8. My home phone is monitored and audio-recorded by pretrial
        services and I have a document that I signed March 29, 2019


          Ms. Young would not file documents in the 2d Cir. because
        “the court told her.” I attempted to elicit the Chief Judge
        Robert Katzman, the former chief judge of the 2d Cir., told Ms.
        Young to commit the crime.


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       It is a crime under three statutes, but most importantly, it
    is a crime under 18 USC § 241 because Ms. Young, “the Court” is
    a supposed person (according to Ms. Young), Ms. Bensing, and
    Mr. Hueston all colluded to hide the audio-recording from Judge
    Donnelly.
       I have Mr. Hueston and I audio-recorded speaking about him
    asking Ms. Bensing for the audio-recording between Ms. Young
    and me. There are various answers, but Mr. Hueston lied and said
    that pretrial services was not monitoring or audio-recording my
    phone line.

      I have an audio-recording of Michael Hueston and I, where he
    tells me that AUSA Bensing will not handover the audio-recording
    and then telling the audio-recording does not exist

      Please Take Notice, AUSA Bensing has evidence of a crime and
    has destroyed it, like they did for the MDC Brooklyn calls.

                       Point 5: US Marshalls
          1. Facts
               a. The US Marshalls omitted the fact that Judge
                  Cogan used his office for his former clients the
                  UFT
               b. The US Marshalls omitted the fact that Ms.
                  Combier criminal conduct in front of Judge
                  Brodie, like tax evasion and perjury with other
                  forms of misconduct, which was known to Judge
                  Brodie and to the panel of judges via my emails
               c. The US Marshalls omitted the fact that I emailed
                  Chief Judge Katzman, as means to provide his
                  knowledge because what Judge Cogan and Judge
                  Brodie falls under misconduct and a chief judge
                  was enforced to retire instead of facing
                  impeaching charges.
               d. The US Marshalls omitted the fact that I emailed
                  Senator Schumer on or around 12/11/17 because Ms.
                  Combier has Randi Weingarten audio-recorded
                  paying Judge Marrero money.

       Because the Supreme Court has held that the making of a
       false police report or the presentation of false evidence
       at trial is a due process violation by itself, the right is
       not established by pre-existing law according to US. v
       Lanier, 520 US 259, 264 (1997).

            There is more missing from the police report and it is
       a colorable crime under 18 USC §241.


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       The complete information is in a letter just about the US
       Marshalls


              Point 6: April 1, 2021 Conference
            Before to Your Honor issuing any order on April 16,
       2021 or before, we must discuss if there is a need for new
       counsel and me asking for a continuance. At the present
       time, the issues are

          1. The change of venue did not list all issues that shows
             that I will not receive a fair trial in the 2d Cir.
          2. Recusal of both AUSAs because they worked for the 2d
             Cir. and have helped to cover certain judges’ crimes,
             which is a colorable under 18 USC § 208 (conflict of
             interest crimes and enacted after “Watergate.”) This
             hold true for Kadijah Young because the AUSA is
             withhold evidence of crime Kadijah Young committed
             against me.
          3. I have asked to see AUSA signed waivers; I need this
             document prior to filing an action under
             Administrative Procedure Act because this is another
             way to force recusal, as Ms. Bensing committed over 30
             crimes against me.
          4. The issue of detention/retro payment, which the retro
             payment is related to Judge Cogan and Randi
             Weingarten.
          5. Michael Drom lied to the court about what my mental
             counselor said about my mental health status because I
             have Mr. Weiss audio-recorded and it does not match
             was Mr. Drom told the court
          6. Sanitation against Ms. Bensing for lying to the court
             and committing colorable crimes under 18 USC §242 and
             18 USC §241
          7. Judge Donnelly, Mr. Hueston, Ms. Bensing committed a
             crime against under 18 USC §13 because they obstructed
             justice in my New York State case under NYS PL §195
          8. Either or both Ms. Bensing and Ms. Olivera gave
             someone (Judge Cogan or Randi Weingarten) my personal
             health information because Susan Edelman of the NY
             POST told me she has my personal health information!!
          9. Your Honor’s memory of how you became a judge is an
             issue because if Your Honor cannot remember the
             process; then it is a colorable due process violation,
             which I shared the caselaw that deal with mental
             illness or the impeachment trial of Judge Portous
             because he lied about his association.


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          10.    My legal team forgot to develop a clear defense,
            like I wanted justice with other defenses
          11.    Subpoena emails from the UFT, DOE, and other
            entities, like the judges
          12.    Subpoena finical records of former lawyers and
            judges
          13.    The DOJ has not handed over ANY exculpatory
            evidence, but evidence that my lawyers could access on
            their own, which is a BIG reason for sanctions against
            the DOJ.

      Now, Mr. Silverman and Ms. Silverman informed that they
 will fix the issue and the issues mentioned in this document are
 not the only ones, but this is where we need to start prior to
 any trail because the problems that I am raising are
 constitutional ones. Two month later, my lawyers are ignoring
 the issues and my lawyers have not corrected what Catherine, the
 social worker they hired, told me, so I am assuming that they
 are not. They do read the letters



 Please Take Notice, I have asked for the judges’ emails and the
 audio recordings from MDC Brooklyn, which are part of the basis
 of sanctions against Brady v. Maryland, 373 U.S. 83, 87 (1963),
 the Court said that “suppression by the prosecution of evidence
 favorable to an accused upon request violates due process”


                           Point 7: Judge Cogan
    1. Ms. Bensing worked for 2d. Cir and EDNY prior to being
       employed by the DOJ
    2. Ms. Bensing has withheld evidence of Betsy Combier’s
       meeting with Judge Cogan, Randi Weingarten and two others.
    3. Judge Cogan was of council for the UFT from the last 1980s
       through 2004, when he left to become a federal judge.
    4. Ms. Bensing has withheld audio-recordings from MDC Brooklyn

   I am asking the court to hold Ms. Bensing accountable for
 lying about Judge Cogan and about her association with the 2d
 Cir. because her conduct is colorable under 18 USC 208

                                Conclusion
      I inform the Court that my legal team and I are not ready
    for a trial in May of this year because my prior lawyers did
    not do any work and the DOJ has withheld evidence so that they
    could craft a clear defense their brief.

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      I, also, inform the Court of their ministerial duty of
    collecting taxes from Ms. Combier and hold Ms. Bensing
    accountable for cantor for her lie on February 5, 2019
      If Your Honor looks at the brief lied either civil case, in
    the 2d Cir., I inform the Court, via case law, that it is
    incumbent upon the court, like Your Honor, to protect the
    integrity, but I open that Your Honor ignores the facts
    because that what Randi Weingarten (Schumer’s supposed “like
    sister”) paid Judge Marrero (Schumer recommended).

      Please Notice Take: Your Honor is videotaped and cited
    Justice Marshall on the importance of facts with Jutice Kagan.

      I do not remember if the video appears on the Federal
    Judicial Center or the regular court website or somewhere
    else.




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